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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                SOUTHERN DIVISION

MARYLAND CHAPTER OF THE SIERRA
CLUB, et al.,

                              Plaintiffs,
        v.                                        Civil Action No. DKC 22-2597

FEDERAL HIGHWAY
ADMINISTRATION, et al.,


                              Defendants.

NORTHERN VIRGINIA CITIZENS
ASSOCIATION,

                              Plaintiff,          Civil Action No. DKC 22-3336
v.

FEDERAL HIGHWAY
ADMINISTRATION, et al.,

                               Defendants.


     [PROPOSED] ORDER EXTENDING DEADLINE FOR FILING JOINT APPENDIX

        Upon consideration of the Parties’ Joint Motion to Extend the Deadline for Filing the

Joint Appendix, the Court ORDERS that the Motion is GRANTED and the Joint Appendix is

now due October 30, 2023.



SO ORDERED this ___ day of _____, 202__.



                                                    __________________________
                                                    DEBORAH K. CHASANOW
                                                    United States District Judge
